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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

In re:                                                        Case No. 15-20876-RBR

VICTOR PADILLA,                                               Chapter 11

       Debtor.
___________________________________/

      EXPEDITED APPLICATION OF DEBTOR FOR ORDER AUTHORIZING
    EMPLOYMENT OF BAST AMRON LLP AND SUBSTITUTION AS COUNSEL TO
            THE DEBTOR NUNC PRO TUNC TO OCTOBER 13, 2016

           Debtor-in-possession, Victor Padilla (the “Debtor”) files this Application for Order

Authorizing Employment of Bast Amron LLP as Counsel to the Debtor Nunc Pro Tunc to

October 13, 2016 (the “Application”) through which it requests the entry of an order, pursuant to

11 U.S.C. § 327(a), authorizing the employment of Jeffrey Bast and the law firm of Bast Amron

LLP (collectively, “BA”), as counsel to the Debtor, and states:

           1.     On June 16, 2015 (the “Petition Date”), the Debtor commenced the instant case

upon the filing of a voluntary petition under Chapter 11, title 11 of the United States Code in the

United States Bankruptcy Court for the Southern District of Florida.

           2.     The Debtor is managing his assets as a debtor in possession pursuant to 11 U.S.C.

§§ 107 and 1108.

           3.     The Debtor believes that it is in the best interest of the estate to retain BA as

general counsel in this case. BA will not appear for the Debtor without approval of its retention

by this Court, under Bankruptcy Rules 2014 and 6003. Attached as Exhibit “A” is a form

Stipulation for Substitution of Counsel for Debtor Victor Padilla, of which a copy is being sent to

Debtor’s current counsel for execution.




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           4.     The Debtor believes that the attorneys of BA are qualified to practice in this Court

and are qualified to advise the Debtor on its relation with, and responsibilities to, the creditors

and other interested parties.

           5.     The professional services that BA will render include, but are not limited to, the

following:

                  a.      To advise the Debtor with respect to its responsibilities in complying with

           the United States Trustee’s Guidelines and Reporting Requirements and with the rules of

           the Court;

                  b.      To    prepare   motions,   pleadings,   orders,   applications,   adversary

           proceedings, and other legal documents necessary in the administration of these cases;

                  c.      To protect the interests of the Debtor in all matters pending before the

           Court; and

                  d.      To represent the Debtor in negotiations with his creditors and in the

           preparation of a plan.

           6.     BA has substantial experience in bankruptcy cases before this Court and others,

and is well qualified to act as counsel for the Debtor. To the best of the Debtor’s knowledge,

except as disclosed in the Affidavit of Jeffrey P. Bast in Support of The Debtor’s Application for

Order Authorizing Employment of Bast Amron LLP as Counsel for the Debtor (the “Bast

Affidavit”), neither Jeffrey Bast (“Bast”) nor BA has any connection with the creditors or other

parties in interest or their respective attorneys.      As set forth in the Affidavit, to the best

knowledge of Bast, neither Bast nor BA represents any interest adverse to the Debtor.




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           7.     Attached to this Application is the Bast Affidavit containing a verified statement

demonstrating that under these circumstances Bast and BA are disinterested as required by §

327(a) of the Bankruptcy Code.

           8.     Subject to this Court’s approval and the engagement agreement attached as

Exhibit “B.” BA was retained post-petition by the Debtor and received a retainer of $25,000.00

(the “Retainer”), from Padilla Real Estate Consultants, Inc. (“Padilla Real Estate”). Padilla Real

Estate is an entity owned entirely by the Debtor’s brother, Manuel Padilla. Other than the

familial relationship to its owner, the Debtor has advised that he has no ownership, managerial,

or other interest in or relationship with Padilla Real Estate. In addition, on September 26, 2016,

BA received a $500.00 consultation fee from Padilla & Associates, LLC, which is also an entity

owned by the Debtor’s brother and of which the Debtor has no ownership, managerial, or other

interest.

           9.     As the Retainer was received from an entity in which the Debtor has no interest

and therefore no portion of the Retainer constitutes Debtor funds, BA seeks authority to draw

down on the Retainer as fees and costs are incurred without further authorization from the Court.

BA will file periodic notices indicating the remaining balance of the Retainer and will not apply

any Debtor funds to services rendered or costs incurred on the Debtor’s behalf. For any such

services or costs to be paid with Debtor funds, BA will apply for compensation and

reimbursement of costs pursuant to §§ 330 and 331 of the Bankruptcy Code, at its ordinary rates,

as they may be adjusted from time to time.

           WHEREFORE, the Debtor respectfully requests that the Court enter an order (i)

approving the Debtor’s employment of BA as counsel to the Debtor nunc pro tunc to October 13,

2016, (ii) terminating Corona Law Firm, P.A. and substituting BA in its place as counsel for the




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Debtor; (iii) authorizing BA to draw down on the Retainer as services are rendered and costs are

incurred without further authorization of the Court; and (iv) granting any other relief the Court

deems appropriate.

           Dated: October 18, 2016

                                            Respectfully submitted,

                                            BAST AMRON LLP
                                            Proposed Counsel for the Debtor
                                            SunTrust International Center
                                            One Southeast Third Avenue, Suite 1400
                                            Miami, FL 33131
                                            Telephone: 305-379-7904
                                            Facsimile: 305-379-7905
                                            Email: jbast@bastamron.com
                                            Email: zlaux@bastamron.com

                                            By: _/s/ Jeffrey P. Bast
                                                   Jeffrey P. Bast, Esq. (FBN 996343)
                                                   Zakarij N. Laux, Esq. (FBN 93784)




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                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing has been served

electronically via the Court’s CM/ECF system where available, and/or via U.S. Mail, as

indicated upon the parties listed below this 18th day of October, 2016.

                                             /s/ Jeffrey P. Bast
                                                Jeffrey P. Bast


                                        SERVICE LIST

VIA CM/ECF

          Ricardo Corona bk@coronapa.com, bk1@coronapa.com
          Melbalynn Fisher mfisher@rasflaw.com,
           bkyecf@rasflaw.com;bky_ecf1@rasflaw.com;RAS@ECF.Courtdrive.com
          Gerard M Kouri Jr. gmkouripaecf@gmail.com, gmkouri@bellsouth.net
          Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
          Damaris D Rosich-Schwartz Damaris.D.Rosich-Schwartz@usdoj.gov

VIA U.S. MAIL

Betsy F. Yegelwel
2150 SW 13th Ave.
Miami, FL 33145




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                   Exhibit “A”
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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DVISION
                                   www.flsb.uscourts.gov

In re:                                                      Case No. 15-20876-RBR

VICTOR PADILLA,                                             Chapter 11

       Debtor.
___________________________________/
                         STIPULATION FOR SUBSTITUTION OF
                        COUNSEL FOR DEBTOR VICTOR PADILLA

         Debtor, Victor Padilla (the "Debtor"), hereby moves to substitute his counsel of record,

substituting the law firm of Bast Amron LLP as counsel of record for the Debtor in this action, and

relieving Ricardo R. Corona, Esq. and the Corona Law Firm, P.A., located at 3899 NW 7th St.,

Miami, FL 33126, of any further responsibility herein, subject to the Court’s approval of the

retention of Bast Amron LLP as counsel. The Debtor consents to the substitution of counsel.

BAST AMRON LLP                                    CORONA LAW FIRM, P.A.
SunTrust International Center                     3899 NW 7th St.
One Southeast Third Avenue, Suite 1400            Miami, FL 33126
Miami, FL 33131                                   Tel.: (305) 266-1150
Telephone: 305-379-7904                           Fax: (888) 554-5607
Facsimile: 305-379-7905                           Email: bk@coronapa.com.com
Email: jbast@bastamron.com
Email: zlaux@bastamron.com

By: _/s/ ______________                           By: _/s/ ___________________
   Jeffrey P. Bast, Esq. (FBN 996343)                 Ricardo R. Corona, Esq. (FBN 111333)
   Zakarij N. Laux, Esq. (FBN 93784)
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